Case 1:22-mc-00096-RC Document 5-4 Filed 10/21/22 Page 1 of 5




       EXHIBIT 4
           Case 1:22-mc-00096-RC Document 5-4 Filed 10/21/22 Page 2 of 5


From:               Phil Fox
To:                 Jeffrey Clark
Cc:                 Angela Thornton; Jason Horrell; Azadeh Matinpour
Subject:            RE: [EXT]RE: 1st part of BLTR with attachments
Date:               Monday, January 10, 2022 10:26:34 AM




Your emails are still going into the junk folder, and I did miss the one about pro hac representation. We are trying
to figure out why and correct the situation.

First, with respect to the representation issue, there is an opinion from the Committee of Unauthorized Practice of
the D.C. Court of Appeals that essentially says a non-D.C. lawyer can represent you without formal pro hac
admission up until the time the case goes before the Court of Appeals. That means, he can represent you during the
investigation, at any hearing before a hearing committee, should one occur, and at the intermediate appellate level
before the Board on Professional Responsibility. Only if exceptions are taken to a Board report and/or the Court
otherwise hears the case does he have to obtain pro hac admission. This recently occurred with a lawyer from
Tennessee who represented a former AUSA before a hearing committee and the Board without receiving pro hac
admission. When the matter went before the Court, where it is now pending, he applied for pro hac admission,
which the Court promptly granted.

January 31 is fine, but that is a final deadline. We are not going to be receptive to arguments that any production
should be put off awaiting any action by the January 6 committee or the Department, and we will assess any such
arguments in the context of your obligation as a member of the Bar to respond to our inquiries. This office is an arm
of the Court, and we are not going to defer to a congressional inquiry or a dispute with the Department. You need to
produce what you have by January 31. If there is additional information that you believe is relevant and that you
cannot produce, you can produce something akin to a privilege log, identifying the documents generically and
explaining why you cannot produce them.

We will double check and get back to you on the total number of pages that we sent you.

-----Original Message-----
From: Phil Fox <FoxP@dcodc.org>
Sent: Monday, January 10, 2022 10:09 AM
To: Phil Fox <FoxP@dcodc.org>
Subject: FW: [EXT]RE: 1st part of BLTR with attachments
Importance: High



-----Original Message-----
From: Jeffrey Clark <jeffrey.b.clark@outlook.com>
Sent: Monday, January 10, 2022 7:19 AM
To: Phil Fox <FoxP@dcodc.org>
Cc: Jason Horrell <horrellj@dcodc.org>; Azadeh Matinpour <matinpoura@dcodc.org>; Angela Thornton
<thorntona@dcodc.org>
Subject: RE: [EXT]RE: 1st part of BLTR with attachments
Importance: High

Mr. Fox,

 (1) I think there is a way to add me in your email program as a trusted recipient, which I think should solve the junk
folder issue on your end going forward.

 (2) Please also check your junk folder to see if there is an email from me earlier on Friday morning than you sent
the email below (11:01 am vs. 11:14 am) asking whether my non-DC-admitted prospective counsel needs to be pro
hac-ed in to interact with your office. Or if you did see that email, please let me know whether my lawyer for this
          Case 1:22-mc-00096-RC Document 5-4 Filed 10/21/22 Page 3 of 5


proceeding can take over corresponding with you now or whether he needs to take some pro-hac-type step first.
Relatedly, can you confirm that the total package I have runs 542 pages?

 (3) Given your position on timing and the original timing delta of about three weeks to respond from when I would
have the Bar correspondence in hand, I would propose to respond, including attached documents, by Monday
1/31/22 at 5 pm. Since I could not submit a claim to my insurer without having the document in hand, Friday is the
day I submitted that claim and that is obviously relevant to how I will pay for counsel for this matter.

 (4) I reserve all of my legal rights in connection with responding and will take up any points of disagreement with
your email below, such as my counsel’s position concerning the relevance of the documents we are seeking from
DOJ that DOJ is resisting providing and the degree of overlap between this proceeding and the January 6 Select
Committee proceeding.

Thank you.

Respectfully submitted,

Jeff Clark



From: Phil Fox <FoxP@dcodc.org>
Sent: Friday, January 7, 2022 11:14 AM
To: Jeffrey Clark <jeffrey.b.clark@outlook.com>
Cc: Jason Horrell <horrellj@dcodc.org>; Azadeh Matinpour <matinpoura@dcodc.org>; Angela Thornton
<thorntona@dcodc.org>
Subject: Re: [EXT]RE: 1st part of BLTR with attachments



For some reason your emails are ending up in our junk folder.



You are going to need to respond to our inquiry and subpoena this month. I am not willing to wait for you to resolve
whatever scheduling issues you have with the Congressional committee. Our issues are much narrower than their
issues; we are concerned only about the Rules of Professional Conduct. Although I don't understand the problem
with our getting you all the documents, the vast bulk were the Congressional report and the attachments, which I am
confident you have had for months and with which you are undoubtedly thoroughly familiar. I await your
explanation of the issues that you are having with the Department, but the subpoena only calls for documents in your
possession. The Department has been very cooperative, quickly providing Touhey letters, and we will assist you in
getting any documents that you reasonably need if we can. Given the more narrow nature of our inquiry, it is not
clear what those might be. But if we cannot quickly agree upon a time for your response and your document
production to occur this month, we will move to compel a response and to enforce the subpoena.



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________________________________

From: Angela Thornton <thorntona@dcodc.org <mailto:thorntona@dcodc.org> >
Sent: Friday, January 7, 2022 9:52:30 AM
To: Phil Fox <FoxP@dcodc.org <mailto:FoxP@dcodc.org> >
Cc: Jason Horrell <horrellj@dcodc.org <mailto:horrellj@dcodc.org> >; Azadeh Matinpour
<matinpoura@dcodc.org <mailto:matinpoura@dcodc.org> >
Subject: FW: [EXT]RE: 1st part of BLTR with attachments
          Case 1:22-mc-00096-RC Document 5-4 Filed 10/21/22 Page 4 of 5




A response from Clark. (again in junk folder)



From: Jeffrey Clark <jeffrey.b.clark@outlook.com <mailto:jeffrey.b.clark@outlook.com> >
Sent: Thursday, January 6, 2022 9:23 PM
To: Angela Thornton <thorntona@dcodc.org <mailto:thorntona@dcodc.org> >
Cc: Phil Fox <FoxP@dcodc.org <mailto:FoxP@dcodc.org> >
Subject: [EXT]RE: 1st part of BLTR with attachments



Ms. Thornton,



(1) Thanks, yes, I can confirm I now believe that today, for the first time, I have the letter and subpoena with its
attachments and thus have the full document.



Just to confirm with you, though, given our various past logistics problems (on both ends now, it seems), the whole
doc, which consists of (a) an email from you (which again I first received only tonight), (b) the ODC letter, (c)
subpoena, (d) attachment to subpoena (with the letter and both subpoena documents also received as of today for the
first time), (e) a Regulation Counsel one pager, (f) an email from Sara Zdeb to ODC Info (g) a letter from Senator
Durbin, and (h) the Senate Judiciary Committee report runs, when all assembled, to a total of 542 pages. Please
confirm that total page number is correct so that I know I’m not missing anything at this point.



Thank you again.



(2) Mr. Fox, I will endeavor to get this to my ethics counsel as soon as I can. Someone had agreed to represent me
within the last few weeks but has strangely been silent since then. He is a law professor with ethics rule expertise
and it’s possible he’s gearing up for the new semester or is tied up on other client matters he works on. But it
wouldn’t be the first time that in this high-profile matter a prospective lawyer has initially shown interest and then
backed out.



Also, tomorrow I will send you an email forwarding some details about the latest as to a dispute I’m having with the
Justice Department about access to certain documents. I will also need to coordinate any response sent to ODC on
my behalf by counsel for that purpose in light my next deposition to the January 6 Select Committee, as there is
substantial overlap between their inquiry and yours. In light of the fact that the Select Committee process has been
underway for some time, I believe that before responding to this inquiry, I should first be permitted to complete my
second deposition. And at the moment, likely in light of the DOJ issue, that second deposition has not been
rescheduled after being postponed due to my run-in with COVID.



After coordinating with my J6 counsel and ethics counsel, and explaining how my pending requests to DOJ impact
things, ethics counsel for me will propose a revised response date for the subpoena, given that I just received the
             Case 1:22-mc-00096-RC Document 5-4 Filed 10/21/22 Page 5 of 5


subpoena today.



Thank you.



Jeff Clark



From: Angela Thornton <thorntona@dcodc.org <mailto:thorntona@dcodc.org> >
Sent: Thursday, January 6, 2022 10:36 AM
To: jeffrey.b.clark@outlook.com <mailto:jeffrey.b.clark@outlook.com>
Subject: FW: 1st part of BLTR with attachments



The following file(s) can be downloaded via SendThisFile:

*       2021-D193 BLetter with attachments part 1 (002).pdf

Download Link: https://www.sendthisfile.com/WVPkz8QjV9TwpeLhh6GXOXM9
<https://www.sendthisfile.com/WVPkz8QjV9TwpeLhh6GXOXM9>

________________________________




Mr. Clark, per your email I am sending, again, the 1st part of the complaint with ODC’s opening letter and written
complaint with the 1st few attachments or appendixes A-B. A second email will follow with attachment or
appendix C, only. I apologize for the delay but your emails to me are all going into my spam folder. I will keep an
eye out for your emails in the future.



Thank you

Angela
